Case 2:04-cV-02046-.]P|\/|-de Document 18 Filed 08/17/05 Page 1 of 2 Page|D 30

 

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WESTER]VDISTRICT OF TENNESSEE OSAUG n AHH:MB
WESTERN DIVISION
THOMAS M GOULD
leRK U.S rim TE¥CTCOUHT
DIRECTV, INC. JUDGMENT IN A cIvIL cAsE919 w 1 1§ 1993
ve
RICK SMITH. cAsE No= 04-2046 Ml/v

 

The parties having Settled all matters in controversy:

IT IS SO ORDERED AND ADJUDGED that, in accordance with the Agreed
Order cf Ccmpromise and Dismieeal filed Auguet 17 , 2005, this case
is DISMISSED with prejudice.

APPROVED:

»MMQ

JON PHIPPS MCCALI_LA
UN ED STATES DISTRIC'I` COURT

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Date Clerk cf Court

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UNITTED §T v ATE§DI§TRICT COURT- WE§TERN DI§TRICT OF TENNE§§EE

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Honorable J on McCalla
US DISTRICT COURT

